CaSe 2:04-Cv-02389-.]PI\/|-tmp Document 30 Filed 07/21/05 Page'l 0f3 Page|D 55

FILED BY D_c_
IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN 05 "IUL 2| AH 8' 3b

 

cLERSE u.s. zswc§ irc tcober

ARTURo AGUIRRE cRUz, et a1. , W/f)@;:j,;\;';',§gm

Plaintiffs,
Civ. No. 04-2389-M1[P

vB»

FORD MOTOR COMPANY,

va_d`.¢v\.¢\-rvv

Defendant.

 

ORDER DENYING WITHOUT PREJUDICE DEFENDANT’S MOTION
TO AMEND COMPLAINT

 

Before the court is Plaintiffs’ Motion to Amend Complaint,
filed July 18, 2005 (dkt #28). A review of the record reveals
that the plaintiff did not file a certificate of consultation
with his motion. Local Rule 7.2 requires that

“[a]ll motions . . . shall be accompanied by
a certificate of counsel . . . affirming
that, after consultation between the parties
to the controversy, they are unable to reach
an accord as to all issues or that all other
parties are in agreement with the action
requested by the motion.” Local Rule
7.2(a)(1)(B). Failure to file a Rule 7.2
certificate “may be deemed good grounds for
denying the motion.” Id.

Therefore, plaintiffs' motion is DENIED, without prejudice.

Thls document entered on tha docket shaft in comp||ance
wthweSBanmwr?Bw)FHCPon

CaSe 2:04-Cv-02389-.]PI\/|-tmp Document 30 Filed 07/21/05 Page 2 of 3 Page|D 56

The plaintiff may renew his motion by refiling it with a

certificate of consultation in compliance with Local Rule 7.2.

'""'""”""c A AM

TU `M."PH`AM
United States Magistrate Judge

Tu\»-\ 9<>,, w<>s-'

Date 0

IT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 30 in
case 2:04-CV-02389 Was distributed by faX, mail, or direct printing on
July 21, 2005 tc the parties listed.

 

 

R. Christcpher CoWan

THE COWAN LAW FIRM
4144 N. Central EXpreSSWay
Ste. 370

Dallas, TX 75204

Stephen A. Marcum

STANSBERRY PETROFF MARCUM & BLAKLEY
3 Courthouse Square

Huntsville7 TN 37756

Frederick J. Jekel
MOTLEY RICE

28 Bridgeside Blvd

Mt Pleasant, SC 29465

Kevin R. Dean
MOTLEY RICE

28 Bridgeside Blvd

Mt. Pleasant7 SC 29465

Honcrable Jon McCalla
US DISTRICT COURT

